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November 15, 2017

VIA ECF

Hon. Michael A. Hammer, U.S.M.J
United States District Court,
District of New Jersey
M.L.K., Jr. Fed. Bldg. & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101


Re:      V. Mane Fils v. Centrome, Inc. d/b/a Advanced Biotech
         Civil Action No. 17-2038 (KM)(MAH)

Dear Judge Hammer:

         I represent defendant Centrome, Inc. d/b/a Advanced Biotech (hereinafter "ABT") in the above
referenced matter. In this capacity, I received counsel's correspondence to Your Honor dated November 14,
2017, wherein counsel requests an adjournment of the settlement conference presently scheduled for December
7, 2017. We join in that request, and agree that a settlement conference scheduled in early 2018 would be more
productive. Accordingly, to the extent Your Honor can accommodate this request, it would be appreciated by
all parties.

         To address plaintiff counsel's comments regarding the status of discovery, I agree that there are a
number of issues for the parties to address, but they are not limited to the defendant's discovery
responses/document productions. We only received Plaintiff's written discovery responses last week and,
unfortunately, they include a number of broad objections, refusals to respond, and/or promises to produce
additional information later in the litigation. Virtually no responsive information or documents were produced.
Specifically, Mane's written discovery responses provide little information requested beyond the recital of the
same conclusory assertions set forth in the Complaint. Similarly, Mane's document production to date consists
of 64 pages - nearly all of which are ABT documents that it provided to Mane prior to this litigation. In fact,
other than the single problematic radiocarbon test result identified in the Complaint that gave rise to this suit (a
test result contradicted by the same lab when it tested ABT's retention sample for the lot in question), Mane has
failed to produce any documents to support the alleged wrongful conduct set forth in the Complaint or the
damages claimed.

        I believe the parties can address most, if not all, of these issues as part of the "meet and confer" process,
which is ongoing. Consequently, we ask Your Honor to extend the deadline for addressing such discovery
disputes from December 1st, 2017 to January 12th, 2018 to permit the parties the necessary time to work through
the discovery issues.




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        I agree with plaintiff's counsel that it has taken us longer to produce our documents than originally
anticipated. Nevertheless, we anticipate completing our production by the end of December 2017 – with rolling
productions to be made on December 1st, December 15th and December 29th. Also, because counsel has served
a 30(b)(6) deposition notice seeking corporate witness testimony related to approximately forty (40) different
topics as well as fact witness depositions of at least two ABT witnesses - and because we wish to limit the
number of times each witness must sit for a deposition in this action, we believe that the depositions should be
scheduled after the parties complete their respective document productions 1. Accordingly, I will work with
counsel to identify mutually agreeable dates for these depositions to occur in the latter half of January 2018 (well
prior to the March 2018 deadline for completing fact witness depositions).

         In light of the foregoing, we respectfully request that Your Honor extend the deadline to address issues
related to document discovery until January 12th, 2018 and reschedule the settlement conference for a date in
February 2018 to allow counsel time to review and evaluate the documents produced and take any fact witness
depositions required to make this settlement conference productive.

      I thank Your Honor for your time and consideration - and please do not hesitate to contact me should
Your Honor have additional questions or need additional information.


Respectfully,

s/ Martin Healy

Martin Healy
Sedgwick LLP

MJH/mh
cc:  All Counsel of Record (via ECF).




        1   Plaintiff's counsel indicated that they anticipate completing Mane's document production in December 2017.




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